           Case 1:19-cr-00064-GHW Document 97 Filed 05/10/21 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
 UNITED STATES OF AMERICA,                                     :
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                                                               :
                              -v-                              :
                                                               :              1:19-cr-064-GHW
                                                               :
 NATALIE SOURS EDWARDS,                                        :                 ORDER
                                                               :
                                               Defendant. :
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GREGORY H. WOODS, United States District Judge:

         It is hereby ORDERED that the sentencing hearing currently scheduled for May 20, 2021 is

adjourned to June 3, 2021 at 12:00 p.m. in Courtroom 12C, Daniel Patrick Moynihan United States

Courthouse, 500 Pearl Street, New York, New York 10007.

         SO ORDERED.

Dated: May 10, 2021
       New York, New York                                          __________________________________
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                                                                          GREGORY
                                                                          GREG  GOORRY H. WOODS
                                                                          United States District Judge
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